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May 10, 2022                                                                                                         Member of the Firm
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VIA ECF                                                                                                              f 212.969.2900
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Hon. Joseph C. Spero
Chief Magistrate Judge
U.S. District Court, Northern District of California
San Francisco Courthouse, Courtroom G – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102


Re:       Senne, et al. v. Office of the Commissioner of Baseball, et al.
          No. 3:14-cv-00608-JCS



Dear Judge Spero:

We represent Defendants in the above-referenced matter and write jointly with Plaintiffs’
counsel.

The parties are pleased to inform the Court that they have reached a settlement of the matter in
principle. The parties have agreed upon a confidential memorandum of understanding. The
settlement is subject to ratification by the respective parties, and we are in the process of
preparing the settlement documents. In light of the parties’ settlement in principle:

      1. The parties respectfully request that the Court adjourn the initial pre-trial conference
         scheduled for May 10, 2022, the trial scheduled to begin on June 1, 2022, and all related
         trial proceedings and submissions.

      2. Plaintiffs respectfully request until July 11, 2022 to file their motion for preliminary
         approval of the settlement.

We thank the Court for its consideration of the parties’ request.




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Respectfully submitted,



 /s/ Elise M. Bloom
_____________________________              /s/ Clifford H. Pearson
                                          ________________________________
Elise M. Bloom                            Clifford H. Pearson
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                                           /s/ Stephen M. Tillery
                                          ________________________________
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cc: All Counsel (via ECF)
